Case 1:22-cv-21858-JLK Document 23 Entered on FLSD Docket 09/15/2022 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-21858-CV-KING

 MONICA MATTEO-SALINAS,
 an individual,

        Plaintiffs,

 v.

 CAMPUS ELECTION ENGAGEMENT PROJECT
 INC, a Delaware Corporation,
 OHIO CAMPUS COMPACT,
 an Ohio Corporation,

        Defendants.
                                                  /

                             FINAL ORDER OF DISMISSAL

        THIS CAUSE came before the court upon the Joint Notice of Settlement (D.E.

 #22), filed September 14, 2022. Accordingly, after a careful review of the record and the

 court being otherwise fully advised in the premises and pursuant to Rule 41(a)(1)(A)(ii) of

 the Federal Rules of Civil Procedure, it is

        ORDERED, ADJUDGED and DECREED as follows:

        1.     The above-styled case is hereby DISMISSED. The Court shall retain

               jurisdiction to enforce the terms of the agreement.

        2.     All unresolved pending motions in this case are hereby DENIED as moot.

        3.     All Discover Deadlines, Motion Practice, Pretrial Conference and Trial dates

               are hereby cancelled.

        4.     The Clerk shall CLOSE this case.
Case 1:22-cv-21858-JLK
       DONE AND ORDEREDDocument 23 Entered
                            in chambers at theonJames
                                                  FLSDLawrence
                                                       Docket 09/15/2022
                                                               King FederalPage  2 of 3
                                                                            Justice

 Building and United States Courthouse, Miami, Florida, this 15th day of September, 2022.



                                         JAMES LAWRENCE KING
                                         UNITED STATES DISTRICT JUDGE

 cc:
 Counsel for Plaintiff:
 Keith Michael Stern
 Law Office of Keith M. Stern, P.A.
 80 SW 8th Street, Suite 2000
 Miami, FL 33130
 3059011379
 Fax: 561-288-9031
 Email: employlaw@keithstern.com


 Counsel for Defendant:
 Scott Stephan Allen
 Jackson Lewis P.C.
 2 S Biscayne Boulevard
 Suite 3500 One Biscayne Tower
 Miami, FL 33131-1802
 305-577-7600
 Fax: 373-4466
 Email: allens@jacksonlewis.com


 Jason Alexander Anon
 Jackson Lewis P.C.
 One Biscayne Tower, Suite 3500
 Two South Biscayne Boulevard
 Miami, FL 33131
 (954) 577-7600
 Fax: (305) 373-4466
 Email: Jason.Anon@JacksonLewis.com




                                             2
Case 1:22-cv-21858-JLK
 Anastasia             Document 23 Entered on FLSD Docket 09/15/2022 Page 3 of 3
           Protopapadakis
 GrayRobinson, P.A.
 333 S.E. 2nd Avenue
 Suite 3200
 Miami, FL 33131
 305-913-6786
 Fax: 305-416-6887
 Email: anastasia.protopapadakis@gray-robinson.com




                                          3
